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IN THE UNITED STATES DISTRICT COURT
FOR TI'IE WESTER.N DISTRICT OF TEN'NESSEE
WESTERN DIVISION

CI-IRISTINE D. RODGERS,

 

Plaintiff,
v.

No. 02-2744-M1/An

BARBARA S. MCCULLOUGH, et al.,

Defendants.

 

ORDER ADOPTING REPORT AND RECOIMENDATION AS AMEN'DED

 

Before the Court is Plaintiff's Motion for Relief Based on
Defendants’ Violation of Settlement Agreement and for Sanctions,
filed November 17, 2004 (“Pl.’s Mot.”). Defendants responded in
opposition on December 20, 2004. This motion was referred to the
United States Magistrate Judge for Report and Recommendation.

The Magistrate Judge submitted his Report and Recommendation on
March 2, 2005, recommending that Plaintiff's motion be denied.
Plaintiff filed objections to the Magistrate Judge's Report and
Recommendation on March 14, 2005. Plaintiff filed an amended
objection on March 17, 2005. Defendants filed an opposition to
Plaintiff's objections on March 28, 2005.

Upon de novo review of the parties' submissions and the
Magistrate Judge’s report, the Court ADOPTS the Magistrate
Judge's Report and Recommendation as amended.

Regarding Plaintiff’s motion for sanctions, the Court agrees

with the conclusion in the Report and Recommendation that

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with Rute 58 and/or 79(3 )FHCP on___________________ § /O ¢_f/

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Plaintiff is not entitled to sanctions under Federal Rule of
Civil Procedure ll.l With respect to Plaintiff's motion for
relief based on the Defendants’ asserted violation of the
settlement agreement. the Court agrees with the Magistrate
Judge's determination that Defendants breached the terms of the
settlement agreement by attaching a copy of that agreement to
their motion to enforce the settlement agreement. However, the
Court amends the report and recommendation to reflect that the
above conduct did not constitute a material breach of the
confidentiality provision of that agreement.
A claim that a party has failed to comply with the terms of

a settlement agreement is one for breach of contract. Under
Tennessee law, the following factors are considered when
determining whether a party materially breached a contract:

(a) the extent to which the injured party will be

deprived of the benefit which he for she] reasonably

expected;

(b) the extent to which the injured party can be

adequately compensated for the part of that benefit of

which he [or she] will be deprived;

(c) the extent to which the party failing to perform or
to offer to perform will suffer forfeiture;

 

‘ Plaintiff objects to the Magistrate Judge's determination
that she did not comply with the safe harbor requirements
contained in Rule ll. Although Plaintiff asserts that she
complied with the safe harbor requirements, she provided no
evidence to support her assertion. (Pl.’s Mot. for Rel. Based on
Defs.’ Viol. Of Settlement Agreement and for Sanctions, at 12.)
Even assuming, however, that Plaintiff did comply with the safe
harbor requirements, the Court agrees with the Magistrate Judge’s
determination that Plaintiff's motion for Rule ll sanctions
should be denied.

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(d) the likelihood that the party failing to perform or
to offer to perform will cure his [or her] failure,
taking account of all the circumstances including any
reasonable assurances;

(e) the extent to which the behavior of the party
failing to perform or to offer to perform comports with
standards of good faith and fair dealing.

McClain v. Kimbrough Constr. Co., 806 S.W.2d 194, 199 (Tenn. Ct.
App. 1990) (quoting Restatement (Second) of Contracts, § 241
(1979)). In the instant case, Plaintiff has not been deprived of
the benefit she reasonably expected from executing the settlement
agreement - namely, the receipt of a monetary sum in exchange for
releasing her claims against Defendants. In addition,
Defendants' breach of the settlement agreement was not made in
bad faith. Therefore, after considering Plaintiff's objections
in light of the five factors listed in Kimbrough, the Court finds
that Defendants did not materially breach the confidentiality
provision of the settlement agreement.

For the foregoing reasons, the Court ADOPTS the March 2,
2005, Report and Recommendation of the Magistrate Judge as

amended.

so oRDERED this \éth day of H/ 2005.
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JON . MCCALLA
UN ED STATES DISTRICT JUDGE

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 104 in
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US DISTRICT COURT

